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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 DELIO LOPEZ-LOPEZ                                                            CIVIL ACTION

 VERSUS                                                                           NO: 19-9308

 NORVEL ORAZIO, ET AL.                                                        SECTION: T(4)



                                           ORDER

       Considering the complaint, the record, the applicable law, and the Magistrate Judge’s

Report and Recommendation, and the failure of Plaintiff to file any objections to the Magistrate

Judge’s Report and Recommendation, the Court hereby approves the Magistrate Judge’s Report

and Recommendation and adopts it as its opinion herein.

       Accordingly, IT IS ORDERED that the defendants’ Motion for Summary Judgment (R.

Doc. No. 27) is GRANTED and Lopez-Lopez’s remaining 42 U.S.C. § 1983 claims of failure to

protect against Lieutenant Orazio are DISMISSED WITHOUT PREJUDICE for failure to exhaust

under 42 U.S.C. § 1997e and WITH PREJUDICE for purposes of pauper status under 28 U.S.C.

§ 1915. It is further ORDERED that Lopez-Lopez’s state law negligence and respondeat superior

claims against defendants Sheriff Champagne and Lieutenant Orazio are DISMISSED WITHOUT

PREJUDICE because the Court declines to exercise supplemental jurisdiction.

       New Orleans, Louisiana, on this 3rd day of August, 2020.




                                                     GREG GERARD GUIDRY
                                                   UNITED STATES DISTRICT JUDGE
